            Case 2:18-cr-00131-RAJ Document 1507 Filed 11/05/20 Page 1 of 1




1                                                            The Honorable Richard A. Jones
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7                       UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
8
                                    AT SEATTLE
9
       UNITED STATES OF AMERICA,                       NO. CR18-131 RAJ
10
                            Plaintiff
11
                       v.                              ORDER GRANTING UNITED STATES’
12
                                                       MOTION TO FILE A BRIEF IN EXCESS
13     JEROME RAY WILSON,
                                                       OF TWELVE PAGES
                            Defendant.
14
15
           The Court, having reviewed the Motion of the United States to File a Brief in
16
     Excess of Twelve Pages, and finding good cause, hereby states:
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           IT IS HEREBY ORDERED that the Motion (Dkt. #1505) is GRANTED. The
18
     United States may file its Response to Jerome Ray Wilson’s Motion for Reduction in
19
     Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) that does not exceed 15 pages in length.
20
           DATED this 5th day of November, 2020.
21
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23
                                                    A
                                                    The Honorable Richard A. Jones
24                                                  United States District Judge
25
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28
      ORDER GRANTING UNITED STATES’ MOTION TO                          UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
      FILE A BRIEF IN EXCESS OF TWELVE PAGES /
                                                                        SEATTLE, WASHINGTON 98101
      United States v. Wilson, CR18-131 RAJ - 1                               (2060 553-7970
